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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 22-cv-23354-BLOOM/Otazo-Reyes

 PALMETTO EKG & ECHO READERS,
 PROFESSIONAL ASSOCIATION,

         Plaintiff,

 v.

 CIGNA HEALTHCARE OF FLORIDA,
 INC.,

       Defendant.
 _________________________/

      ORDER ON POST-REMOVAL PROCEDURES, AND REQUIRING SCHEDULING
             REPORT AND CERTIFICATES OF INTERESTED PARTIES 1

         THIS CAUSE is before the Court upon a sua sponte review of the record. Defendant filed

 a Notice of Removal, ECF No. [1] (“Notice”), on October 14, 2022. The Notice is filed pursuant

 to 28 U.S.C. §§ 1441, 1446, seeking removal, pursuant to 28 U.S.C. § 1331, of an action filed in

 the County Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, entitled

 Palmetto EKG & Echo Readers, Pro. Ass’n v. Cigna Healthcare of Fla., Inc., Case No. 2022-

 025489 SP 23 (“State Court Action”). Pursuant to 28 U.S.C. § 1447(a)-(c), Fed. R. Civ. P. 81(c),

 and S.D. Fla. L.R. 7.2, it is ORDERED that:

      1. Based on Defendant’s representation in the Notice that it was served with process of the

 State Court Action on September 14, 2022, on or before October 24, 2022, Defendant shall

 answer or otherwise respond to the underlying complaint, unless Defendant has already done so in

 the State Court Action.




 1
  The parties must not include Judge Bloom and the assigned U.S. Magistrate Judge as interested parties
 unless they have an interest in the litigation.
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     2. On or before October 31, 2022, the parties shall comply with Local Rule 7.2 to the extent

 there are any motions pending in the State Court Action, and shall separately re-file the motion,

 relevant memoranda of law in support of or opposition to those motions.

     3. Plaintiff may file a motion to remand this case on or before November 14, 2022. 2

 Deadlines with respect to such motion will be governed by all relevant Local Rules.

         Joint Scheduling Report

     4. By November 7, 2022, the parties shall prepare and file a joint scheduling report, as

 required by Local Rule 16.1. The joint scheduling report and proposed order shall include all

 information required by Local Rule 16.1(b)(2) and (3). In addition, at the time of filing the joint

 scheduling report, the parties, including governmental parties, must file certificates of interested

 parties and corporate disclosure statements that contain a complete list of persons, associated

 persons, firms, partnerships, or corporations that have a financial interest in the outcome of this

 case, including subsidiaries, conglomerates, affiliates, parent corporations, and other identifiable

 legal entities related to a party (to the extent they have not already done so). Throughout the

 pendency of the action, the parties are under a continuing obligation to amend, correct, and update

 the certificates.

         Detailed Discovery Schedule: Local Rule 16.1(a) provides for a differentiated case

 management system based on the complexity of each case and the requirement for judicial

 involvement. That system categorizes cases along three case management tracks: expedited,

 standard, or complex.

             •   Expedited track cases are relatively non-complex, require 1 to 3 days of trial, and

 2
   The Court notes that no party can waive the objection of lack of federal subject-matter jurisdiction; any
 party can exercise the right to secure a remand of an action to state court when there is no federal subject-
 matter jurisdiction over the action that has been removed to federal court. See Cotton v. Mass. Mut. Life
 Ins. Co., 402 F.3d 1267, 1280 (11th Cir. 2005) (noting in addition responsibility of court to raise issue of
 jurisdiction sua sponte).


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                between 90 and 179 days for discovery from the date of the scheduling order.
            •   Standard track cases require 3 to 10 days of trial, and between 180 and 269 days
                for discovery from the date of the scheduling order.
            •   Complex track cases are unusually complex, require over 10 days of trial, and
                between 270 and 365 days for discovery from the date of the scheduling order.

 “The following factors [are] considered in evaluating and assigning cases to a particular track: the

 complexity of the case, number of parties, number of expert witnesses, volume of evidence,

 problems locating or preserving evidence, time estimated by the parties for discovery and time

 reasonably required for trial, among other factors.” S.D. Fla. L.R. 16.1(a)(3).

        Fed. R. Civ. P. 26(b)(1) allows discovery regarding any nonprivileged matter that is

 relevant to any party’s claim or defense and proportional to the needs of the case, considering the

 importance of the issues at stake in the action, the amount in controversy, the parties’ relative

 access to relevant information, the parties’ resources, the importance of the discovery in resolving

 the issues, and whether the burden or expense of the proposed discovery outweighs its likely

 benefit. The parties shall participate in good faith in developing a detailed discovery plan,

 including any agreed-upon limitation on scope, frequency and the extent of discovery. The parties

 shall include in their scheduling report any unique discovery matters, including any electronically

 stored information that should be preserved and accessed. The parties shall establish a detailed

 schedule for the preservation, disclosure and access of each different type or category of

 electronically stored information.

        Consistent with the differentiated case management system, other relevant local rules (such

 as Local Rule 16.2, regarding mediation), and the twin goals of expeditious and attentive case

 management, the Court anticipates the following scheduling deadlines in the run of cases:

            •   Selection of a mediator and scheduling of a time, date and place for mediation
                within 30 days of the scheduling order.
            •   Deadline to amend pleadings and join parties within 60 days of the scheduling


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                 order.
             •   Completion of all discovery consistent with the case management track guidelines,
                 and 120 days prior to trial.
             •   Completion of mediation prior to the deadline for dispositive pre-trial motions.
             •   Deadline for dispositive pre-trial motions and Daubert motions (which include
                 motions to strike experts) 100 days prior to trial.
             •   Deadline for submission of joint pre-trial stipulation, proposed jury instructions and
                 verdict form, or proposed findings of fact and conclusions of law, as applicable, 40
                 days prior to trial.
             •   Calendar call one week prior to trial.

 Those deadlines are not exhaustive of deadlines which may be set in the scheduling order.

         The parties should address their joint scheduling report and their proposed pre-trial

 deadlines both to the differentiated case management system and to the Court’s anticipated

 deadlines. The parties are encouraged to explain their proposed deadlines in light of those

 overarching guidelines, including as to the factors listed in Local Rule 16.1(a)(3). The parties are

 cautioned that if they fail to submit a joint scheduling report by the applicable deadline, the

 Court may unilaterally set this case on a case management track in accordance with Local

 Rule 16.1(a) and calculated as if the scheduling report had been timely filed.

         The parties are advised that the failure to comply with any of the procedures contained in

 this Order or the Local Rules may result in the imposition of appropriate sanctions, including,

 but not limited to, the dismissal of this action or entry of default.

         DONE AND ORDERED in Chambers at Miami, Florida, on October 17, 2022.




                                                            _________________________________
                                                            BETH BLOOM
                                                            UNITED STATES DISTRICT JUDGE
 Copies to:
 Counsel of Record


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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 22-cv-23354-BLOOM/Otazo-Reyes

 PALMETTO EKG & ECHO READERS,
 PROFESSIONAL ASSOCIATION,

        Plaintiff,

 v.

 CIGNA HEALTHCARE OF FLORIDA,
 INC.,

       Defendant.
 _________________________/

               ELECTION TO JURISDICTION BY A UNITED STATES
            MAGISTRATE JUDGE FOR FINAL DISPOSITION OF MOTIONS

        In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
 above-captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate
 Judge decide the following motions and issue a final order or judgment with respect thereto:
        1. Motions for Costs                          Yes _____ No _____
        2. Motions for Attorney’s Fees                Yes _____ No _____
        3. Motions for Sanctions                      Yes _____ No _____
        4. Motions to Dismiss                         Yes _____ No _____
        5. Motions for Summary Judgment               Yes _____ No _____



 ____________           ____________________________________________
 (Date)                 (Signature—Plaintiff’s Counsel or Plaintiff if pro se)



 ____________           ____________________________________________
 (Date)                 (Signature—Defendant’s Counsel or Defendant if pro se)



                                           Attachment A
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 22-cv-23354-BLOOM/Otazo-Reyes

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 INC.,

       Defendant.
 _________________________/

                     MAGISTRATE JUDGE JURISDICTION FOR TRIAL

        In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
 above-captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate
 Judge conduct any and all further proceedings in the case, including trial, and entry of final
 judgment with respect thereto.



 ____________           ____________________________________________
 (Date)                 (Signature—Plaintiff’s Counsel or Plaintiff if pro se)



 ____________           ____________________________________________
 (Date)                 (Signature—Defendant’s Counsel or Defendant if pro se)




                                           Attachment B
